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UNITED STATES DISTRICT COURT                         SOUTHERN DISTRICT OF TEXAS
                                                                        United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
Hsin Chi Su,                                  §                                        May 23, 2019
                                                                                    David J. Bradley, Clerk
                                              §
                 Plaintiff,                   §
                                              §
'Versus                                       §
                                              §
Bank Sinopac, a al.,                          §
                                              §
                 Defendants.                  §


                                        Final judgment

             On the motions ofWilmington T ru5t, National Association in civil action H-
     14-2165 and civil action H-14-2166, Wilmington Trust, National Association,
     recovers a judgment for (A) the principal of S6o,459,959·33 owed it on Hsin Chi Su's
     guaranties, (B) $I7,16g,737·40 in prejudgment interest, and (C) post-judgment
     interest at a rate of 2.32%. (94) (8o)


             Signed on May -z-2-, 2019, at Houston, Texas.



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